   10-03635-cgm         Doc 122      Filed 07/30/12      Entered 07/30/12 16:10:43       Summons       Pg 1
                                                        of 3
                              UNITED STATES BANKRUPTCY COURT
                                   Southern District of New York
In re: Fairfield Sentry Limited and Kiangsu Chekiang and Shanghai Residents (H.K.)          Bankruptcy Case No.:
Ass                                                                                               10−13164−brl

Fairfield Sentry Limited ( In Liquidation)
Fairfield Sigma Limited (In Liquidation)
Kenneth Krys, solely in his capacity as Foreign Representative and Liquidator thereof
                                                    Plaintiff(s),
                                                                                        Adversary Proceeding No.
−against−                                                                                          10−03635−brl
Union Bancaire Privee, UBP SA
Adler and Co.
Privatbank AG
Allianzbank SPA/Unifortune Conservative Side Pocket
Alternative Investment Strategies
Arsenal SPC
Arsenal SPC OBO Glasgow SEG Port
Banca Arner SA
Banca Unione di Credito
Bank Hapoalim Switzerland Ltd.
Bank Julius Baer & Co. Ltd.
Bank Sarasin & Cie
Banque Cantonale Vaudoise
Banque Cramer & Cie SA
Banque Safdie SA
Barclay's Bank PLC Singapore Wealth
BBH LUX Guardian II
BBH LUX Ref Fairfield GRN
BBVA (Suisse) SA
BCV AMC Defensive Al Fund
BNP Paribas (Suisse) SA
BNP Paribas (Suisse) SA Ex Fortis
BNP Paribas (Suisse) SA Private
BSI AG
BSI Ex Banca Del Gottardo
Caceis Bank Luxembourg
CBB (BVI)/The Alkima Found
CBT Gems Low Vol Reg
Compagnie Bancaire Helvetique
Centrum Bank AG (AMS)
Fidulex Management Inc.
Clariden Leu Ltd.
Corner Banca SA
Credit Suisse AG Zurich
Dexia Banque International a Luxembourg
Dresdner Bank Schweiz
EFG Bank SA Switzerland
EFG Eurofinancier D'Invest MCL
Endurance Absolute Ltd. Master
Fairfield Investment GCI
Fairfield Investment Fund Ltd.
Fairfield Masters Ltd.
Falcon Private Bank
FCL IFP Global Diversified CLS
FIF Advanced Ltd.
Finter Bank Zuirich
Harmony Capital Fund Ltd.
Ihag Handelsbank AG
Incore Bank AG
JP Morgan (Suisse) SA
Karla Multistrategies Ltd.
KBC Investments Ltd.
   10-03635-cgm         Doc 122      Filed 07/30/12      Entered 07/30/12 16:10:43          Summons         Pg 2
                                                        of 3
LGT Bank in Liechtenstein AG
Liechtensteinische LB Reinvest AMS
Lloyds TSB Bank Geneva
Lombard Odier Darier Hentsch & Cie
Longboat Ltd.
Master Capital and Hedge Fund
NBK Banque Privee Suisse SA
Pictet & Cie
PKB Privatebank AG
Private Space Ltd.
Quasar Funs SPC
RBC Dexia Investor Service Julius Baer Sicav
RBS Coutts Bank Ltd.
Richourt AAA Multistrategies
Rothschold Bank AG Zurich (Dublin)
Rothschild Bank Geneva (Dublin)
Rothschild Lugano Dublin
Sella Bank AG
SIS Seeganintersettle
Six SIS Ltd.
Societe Generale Bank & Trust
Soundview Fund
Springer Fund of Funds Ltd.
Swisscanto FD Centre Clients A/C
T1 Global Fund Ltd.
Teorema Alternative Strategies
UBS AG New York
UBS AG Zurich
UBS Jersey Nominees
Verwaltungs und Privat−Bank AG Aktiengesellschaft (AMS)
Vorarlberger Landes Und Hypothekenbank Ankiengesellscharft and Beneficial Owners
of the Accounts held in the name of CGC (NA) 1−1000
Verwaltungs− und Privat−Bank AG Aktiengesellschaft
Rothschild Lugano Dublin a/k/a Banca Privata Edmond de Rothschild Lugano S.A.
Rothschild Bank AG Zurich (Dublin) a/k/a Rothschild Bank AG
Quasar Funds SPC a/k/a Quasar Fund SPC Class A and Class B CGCNV
National Bank of Kuwait
Karasel Enhanced Portfolio
BBH Lux Guardian II a/k/a Brown Brothers Harriman
Barclays Bank PLC Singapore Wealth a/k/a Barclays Bank, PLC
Adler and Co Privatbank AG
ABN AMRO Schweiz AG a/k/a ABN AMRO (Switzerland) AG
EFG Bank AG a/k/a EFG Bank SA Switzerland and EFG Bank (Monaco) f/k/a EFG
Eurofinancier DInvest MCL.
EFG Bank AG a/k/a EFG Bank SA Switzerland
EFG Bank (Monaco) f/k/a EFG Eurofinancier DInvest MCL
Credit Suisse AG
HSBC
HSBC
Bank Leumi Switzerland
Geneva Absolute Return Fund
                                                 Defendant(s)
                                 THIRD AMENDED
                    SUMMONS AND NOTICE OF PRETRIAL CONFERENCE
                          IN AN ADVERSARY PROCEEDING

YOU ARE SUMMONED and required to submit a motion or answer to the complaint which is attached to this
summons to the clerk of the bankruptcy court within 30 days after the date of issuance of this summons, except that
the United States and its offices and agencies shall submit a motion or answer to the complaint within 35 days, to:
   10-03635-cgm         Doc 122      Filed 07/30/12       Entered 07/30/12 16:10:43          Summons   Pg 3
                                                         of 3
Address of Clerk:
                                Clerk of the Court
                                United States Bankruptcy Court
                                Southern District of New York
                                One Bowling Green
                                New York, NY 10004−1408
At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.
Name and Address of
Plaintiff's Attorney:
                                David Molton
                                Brown Rudnick LLP
                                7 Times Square
                                Times Square Tower
                                New York, NY 10036
If you make a motion, your time to answer is governed by Fed. R. Bankr. P. 7012.

YOU ARE NOTIFIED that a pretrial conference of the proceeding commenced by the filing of the complaint will be
held at the following time and place:
United States Bankruptcy Court                                   Room: Courtroom 623 (BRL), One Bowling
Southern District of New York                                    Green, New York, NY 10004−1408
One Bowling Green
New York, NY 10004−1408                                          Date and Time: 9/12/12 at 10:00 AM
IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR
CONSENT TO ENTRY OF A JUDGMENT BY THE BANKRUPTCY COURT AND JUDGMENT BY DEFAULT
MAY BE TAKEN AGAINST YOU FOR THE RELIEF DEMANDED IN THE COMPLAINT.


Dated: 7/30/12                                             Vito Genna

                                                           Clerk of the Court

                                                           By: /s/ Tiffany Campbell

                                                           Deputy Clerk
